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                                                               UNITED STATES DISTRICT COURT
                                                                         FOR THE
                                                                    DISTRICT OF MAINE

                              Brian P. Leavitt and Amanda L. Riendeau,            §
                                                    Plaintiffs,                   §
                                                                                  §
                                                 v.                               §    Civil Action No. 1:20-cv-00426-LEW
                                                                                  §
                              Sonoco Health and Group Benefits Plan,              §
                              Sonoco Products Company, and                        §
                              Metropolitan Life Insurance Company,                §
                                                    Defendants.                   §


                                                                    JOINT STATUS REPORT


                                          Per the Court's November 21, 2021 Order, defendant Metropolitan Life Insurance

                              Company ("MetLife") submits this Joint Status report on behalf of the parties to this action.

                                          1.     On December 1, 2021, the parties met and conferred in an attempt to resolve

                              disputes regarding the plaintiffs' proposed discovery requests to MetLife and Sonoco Health and

                              Group Benefits Plan and Sonoco Products Company (collectively "Sonoco").

                                          2.     At that "meet and confer" counsel for plaintiffs agreed to: (a) submit revised

                              discovery requests to Sonoco; and (b) defer their previously submitted discovery requests to

                              MetLife without prejudice pending their review of discovery responses from Sonoco and

                              assessment of whether additional discovery is needed from MetLife.

                                          3.     On December 6, 2021, counsel for plaintiffs submitted revised discovery requests

                              to Sonoco and subsequently agreed that Sonoco's responses would be due on or before January

                              31, 2022.

                                          4.     After their receipt of Sonoco's discovery responses, counsel for plaintiffs shall

     Law Offices of
                              notify MetLife's counsel within 10 days either that they do not seek additional discovery from
Sulloway & Hollis, P.L.L.C.
 Concord, N.H. 03301


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                              MetLife or that they wish to schedule a follow-up meet and confer to discuss additional

                              discovery from MetLife.


                                                                            Respectfully submitted,

                                                                            METROPOLITAN LIFE INSURANCE
                                                                            COMPANY

                                                                            By Its Attorneys,
                                                                            SULLOWAY & HOLLIS, P.L.L.C.


                              DATED: December 13, 2021                      By:    /s/ William D. Pandolph, Esq.
                                                                                    William D. Pandolph, Esq. #003996
                                                                                    9 Capitol Street
                                                                                    Concord, NH 03301
                                                                                    (603) 223-2800
                                                                                    e-mail: wpandolph@sulloway.com


                                                               CERTIFICATE OF SERVICE

                                      I hereby certify that this document filed through the ECF system will be sent
                              electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
                              and paper copies will be sent to those indicated as non-registered participants on December 13,
                              2021.


                              DATED: December 13, 2021                      By:    /s/ William D. Pandolph, Esq.
                                                                                    William D. Pandolph, Esq.




     Law Offices of
Sulloway & Hollis, P.L.L.C.
 Concord, N.H. 03301


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